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 7
                         IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
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11    CHRISTINE CUMMING,
      LAMESHA KONDO,                        Case No. 5:18-cv-03476-EJD
12    ANDREA MENDEZ,
13    KIMBERLY POOL,
      FREEMAN REVELS, and                   PLAINTIFFS’ NOTICE OF
14    TAMMY WANGELINE,                      VOLUNTARY DISMISSAL
      individually and on behalf of         PURSUANT TO FED. R. CIV. P.
15    others similarly situated,            41(A)
16                      Plaintiffs,
17
               v.
18
      BIG PICTURE LOANS, LLC,
19    MATT MARTORELLO; AND
      ASCENSION
20    TECHNOLOGIES, INC.,
21                      Defendants.
22
23            Plaintiffs Christine Cumming, Lamesha Kondo, Andrea Mendez, Kimberly
24
     Pool, Freeman Revels, and Tammy Wangeline file this Notice of Voluntary Dismissal
25
26 Pursuant to FED. R. CIV. P. 41(a) and hereby dismisses their claims without prejudice
27 against all Defendants, each side to bear its own costs. As none of the Defendants
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     SMRH:4815-1859-8042.2                    PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
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1 have yet served an answer or a motion for summary judgment, a Court order is not
2
     required. See FED. R. CIV. P. 41(a)(1)(A). This notice results in the voluntary dismissal
3
4
     without prejudice of all of Plaintiffs’ claims against all Defendants.

5
6 Dated: September 19, 2019                  Respectfully submitted,
7
8                                        By: /s/ Hassan A. Zavareei
                                             Hassan A. Zavareei (SBN 181547)
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15                                           Counsel for Christine Cumming, Lamesha
                                             Kondo, Andrea Mendez, Kimberly Pool,
16                                           Freeman Revels, and Tammy Wangeline, on
17                                           behalf of themselves and all individuals
                                             similarly situated
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                                                -2-                        Case No. 5:18-cv-03476
     SMRH:4815-1859-8042.2                        PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
